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                               UNITED STATES DISTRICT COURT
                                 DISTRICT COURT OF MARYLAND

DEBORAH K. CHASANOW                                                6500 Cherrywood Lane
UNITED STATES DISTRICT JUDGE                                       Greenbelt, MD 20770
                                                                          (301) 344-0634



                                           April 13, 2016



TO:    Counsel

RE:    Scottsdale Capital Advisors Corporation, et al. v.
       Financial Industry Regulatory Authority, Inc.
       Civil Action No. DKC 16-0860

Dear Counsel:

     This letter will confirm the matters discussed and the
schedule set during this morning’s telephone conference.        The
Securities and Exchange Commission’s unopposed motion to
participate as amicus curiae and for leave to file an amicus curiae
memorandum (ECF No. 13) is GRANTED and the clerk will be directed
to add the SEC as amici curiae supporting Defendant. The SEC will
file its brief by Monday, April 18.

     Plaintiffs will file their combined reply to their motion for
preliminary injunction and response in opposition to Defendant’s
motion to dismiss by April 21. Defendant doesn’t anticipate filing
a reply to its motion to dismiss. However, should Defendant decide
otherwise, it will promptly file its reply.        See Local Rule
105.2.b. A motions hearing is scheduled April 26, 2016, at 9:30
a.m.

      Despite the informal nature of this letter it constitutes an
Order of the Court and the clerk is instructed to docket it as
such.

                                           Very truly yours,

                                                /s/

                                           DEBORAH K. CHASANOW
                                           United States District Judge
